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                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                            LAFAYETTE OPELOUSAS DIVISION


 UNITED STATES OF AMERICA                               CRIMINAL NO. 06-60048-01

              VS.                                       JUDGE DOHERTY

 KHANH V. PHAM                                          MAGISTRATE JUDGE: HILL



                            ORDER APPOINTING INTERPRETER

       The Court, having been satisfied that the following individual has the qualifications
 necessary to serve as an interpreter in this matter, it is hereby ORDERED that:

                     Interpreter: Leslie Nguyen (by telephone)
                                  Contract Court Interpreter
                                  Central District of California

 be appointed as interpreter to assist in the initial appearance and arraignment only.
 Compensation for these services shall be paid by the Government.


       This appointment is made pursuant to Rule 28 of the Federal Rules of Criminal
 Procedure.

       IT IS SO ORDERED.
       THUS DONE AND SIGNED at Lafayette, Louisiana, this 17th day of August, 2006.
